          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:04CR43


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )            ORDER
                                          )
                                          )
JANICE EARLEEN McCOYLE                    )
                                          )


      THIS MATTER is before the Court on Defendant’s motion that the

Court recommend to the Bureau of Prisons (BOP) that she be released to

home confinement for the duration of her sentence. See Defendant’s

“3582 Reduction of Sentence Motion for Home Confinement,” filed

October 14, 2008. The motion is denied.

      The Court may not reduce or otherwise modify a term of

imprisonment once it has been imposed except that in any case the Court

“upon motion of the Director of the Bureau of Prisons, may reduce the term

of imprisonment (and may impose a term of probation or supervised

release with or without conditions that does not exceed the unserved

portion of the original term of imprisonment)” if the Court finds that there




      Case 1:04-cr-00043-MR    Document 297    Filed 10/24/08   Page 1 of 3
                                       2

are extraordinary and compelling reasons that warrant such a reduction;

the defendant is at least 70 years old; has served at least 30 years in

prison for the current offense; and the Director of the BOP has determined

the defendant is not a danger to the safety of any other person or the

community. See 18 U.S.C. § 3582(c)(1)(A).

      The Defendant alleges that extraordinary circumstances, her

unemployability, her medical condition, the fact that she is not a danger to

others or the community, her excellent adjustment to prison life, and that

her stable and supportive family that will assist her when she is released,

provide the justification for her release from custody into home

confinement. See Motion, supra. However, the statute is clear that the

Court has no authority to recommend her release; it is also clear that such

a recommendation must come from the BOP after having considered the

appropriate statutory requirements. Therefore, the Court is without

jurisdiction to grant the relief sought by the Defendant.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for

home confinement is hereby DENIED.




      Case 1:04-cr-00043-MR   Document 297    Filed 10/24/08   Page 2 of 3
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                               Signed: October 23, 2008




Case 1:04-cr-00043-MR   Document 297   Filed 10/24/08     Page 3 of 3
